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                                                               kmp7299/MM
                                                               Return Date & Time:
                                                               March 25, 2020 at 10:00AM


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Chapter 13 Case No: 19-23985
IN RE:
                                                               NOTICE OF MOTION
Samantha G. Jenkins,

                                              Debtor(s).
-----------------------------------------------------------X



                   PLEASE TAKE NOTICE, that upon the within application, the Chapter 13 Trustee
will move this court before the Honorable Sean H. Lane U.S. Bankruptcy Judge, at the United
States Bankruptcy Court, 300 Quarropas Street White Plains, NY 10601, on March 25, 2020 at
10:00AM , or as soon thereafter as counsel can be heard, for an Order pursuant to 11 U.S.C.
§1307(c) for cause, dismissing this Chapter 13 case and for such other and further relief as may
seem just and proper.
                   Responsive papers shall be filed with the Bankruptcy Court and served upon the
Chapter 13 Trustee, Krista M. Preuss, Esq., no later than seven (7) days prior to the hearing date
set forth above. Any responsive papers shall be in conformity with the Federal Rules of Civil
Procedure and indicate the entity submitting the response, the nature of the response and the
basis of the response.



Date: White Plains, New York
      January 15, 2020

                                                               /s/ Krista M. Preuss
                                                               KRISTA M. PREUSS, CHAPTER 13 TRUSTEE
                                                               399 KNOLLWOOD ROAD, STE 102
                                                               WHITE PLAINS, NY 10603
                                                               (914)328-6333
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                                                               kmp7299/MM
                                                               Return Date and Time:
                                                               March 25, 2020 at 10:00AM

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Chapter 13 Case No: 19-23985
IN RE:

Samantha G. Jenkins,
                                                               APPLICATION
                                       Debtor(s).
-----------------------------------------------------------X


TO THE HONORABLE, SEAN H. LANE, U.S. BANKRUPTCY JUDGE:


       KRISTA M. PREUSS, ESQ., Standing Chapter 13 Trustee in the above-captioned estate,
respectfully represents the following:

         1.        The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 13 on
                   November 12, 2019, and, thereafter, KRISTA M. PREUSS was duly appointed and
                   qualified as Trustee.

         2.        This is the Debtor’s sixth bankruptcy case. The Debtor’s first case, 07-22719 filed
                   under Chapter 11 on July 31, 2007. The Debtor’s Chapter 11 was closed on March
                   31, 2008. The Debtor’s second case, 08-22335 filed under Chapter 7 on March 11,
                   2008. The Debtor’s Chapter 7 was closed on February 26, 2009. The Debtor’s third
                   case, 09-22862 filed under Chapter 7 on May 22, 2009. The Debtor ‘s Chapter 7
                   was dismissed on August 07, 2009.The Debtor’s fourth case, 10-22127 filed under
                   Chapter 13 on January 26, 2010 The Debtor’s Chapter 13 was dismissed on May
                   02, 2011. The Debtor’s fifth case, 15-22803 filed under Chapter 13 on June 08,
                   2015. The Debtor’s Chapter 13 was dismissed on January 30, 2017.

         3.        The Debtor has failed to comply with 11 U.S.C. §521(a)(1) and Bankruptcy Rule
                   1007(b) in that the following required documents have not been filed:

                   a. official Form B22C (CMI), Statement of Monthly Income and Disposable
                      Income pursuant to 11 U.S.C. §521(a)(1)(B)(v);

                   b. complete schedules of assets and liabilities pursuant to 11 U.S.C.
                      §521(a)(1)(B)(i);

                   c. schedules I and J pursuant to 11 U.S.C. §521(a)(1)(B)(ii);

                   d. statement of Financial Affairs pursuant to 11 U.S.C. §521(a)(1)(B)(iii); and

                   e. copies of all payment advices or other evidence of payment for last 60 days
                      before the date of the filing of the petition by the Debtor from any employer of
                      the Debtor pursuant to 11 U.S.C. §521(a)(1)(B)(iv).
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       4.     Furthermore, the Debtor has failed to:

              a. file a Credit Counseling Certificate as required by 11 U.S.C. §521(b)(1);

              b. file a Chapter 13 Plan, as required by 11 U.S.C. §1321 and Fed. R. Bankr. P.
                 3015(b);

              c. appear and be examined at the Section 341 Meeting of Creditors as required
                 by 11 U.S.C. §343;

              d. failed to commence making Chapter 13 plan payments to the Trustee, as
                 required by 11 U.S.C. §1326(a)(1);

              e. provide the Trustee a copy of a federal income tax return or transcript for the
                 most recent year, 7 days before first meeting of creditors pursuant to 11 U.S.C.
                 §521(e)(2)(A)(i).

       5.     The time limits set forth in Bankruptcy Rule 1007(c) have expired and no
              extension of time has been granted by the Court.

       6.     The Debtor’s failure to file these items impedes the Trustee’s ability to administer
              this case and, therefore, is a default that is prejudicial to the rights of the creditors
              of the Debtor pursuant to 11 U.S.C. §1307(c)(1).

       7.     Each of the foregoing constitutes cause to dismiss this Chapter 13 case within the
              meaning of 11 U.S.C. §1307(c).

        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an
Order dismissing this Chapter 13 case and for such other and further relief as may seem just and
proper.

Dated: White Plains, New York
       January 15, 2020
                                                              /s/ Krista M. Preuss
                                                              Krista M. Preuss, Chapter 13 Trustee
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Chapter 13 Case No: 19-23985
IN RE:

Samantha G. Jenkins,
                                                               CERTIFICATE OF SERVICE
                                                                    BY MAIL
                                       Debtor.
-----------------------------------------------------------X

               This is to certify that I, Meghan McCarthy , have this day served a true, accurate
and correct copy of the within Notice of Motion and Application by depositing a true copy thereof
enclosed in a post-paid wrapper, in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State, addressed to each of the following persons at the
last known address set forth after each name:

Samantha G. Jenkins
24 Montgomery Place
New Rochelle, NY 10804 10804

PRO SE




This January 15, 2020

s/Meghan McCarthy
Meghan McCarthy , Case Support
Office of the Standing Chapter 13 Trustee
Krista M. Preuss, Esq.
399 Knollwood Road, Suite 102
White Plains, NY 10603
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CHAPTER 13 CASE NO: 19-23985
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
IN RE:

Samantha G. Jenkins,


Debtor(s).


                        NOTICE OF MOTION, APPLICATION
                                    and
                           CERTIFICATE OF SERVICE




                               KRISTA M. PREUSS
                         STANDING CHAPTER 13 TRUSTEE
                        399 KNOLLWOOD ROAD, SUITE 102
                         WHITE PLAINS, NEW YORK 10603
                                 (914) 328-6333
